Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1134 Filed 08/19/22 Page 1 of 34




          IN THE UNITED STATES DISTRICT COURT FOR
    THE EASTERN DISTRICT OF MICHIGAN NORTHERN DIVISION


RICHARD PRATT and LARRY JONES,                   Case No. 21-cv-11404-TLL-PTM
individually and on behalf of all others         Honorable Thomas L. Ludington
similarly situated,                              Honorable Patricia T. Morris

                    Plaintiffs,

      v.

KSE SPORTSMAN MEDIA, INC.,
d/b/a OUTDOOR SPORTSMAN GROUP,
INC.,

                    Defendant.


             DEFENDANT’S MOTION FOR JUDGMENT ON THE
           PLEADINGS AND INCORPORATED BRIEF IN SUPPORT

      Defendant KSE Sportsman Media, Inc. d/b/a Outdoor Sportsman Group, Inc.

(“KSE”) respectfully moves this Court for an order dismissing Plaintiffs’ Complaint

because the statute pursuant to which Plaintiffs have brought their claim, the

Michigan Preservation of Personal Privacy Act (“PPPA”), violates the Michigan

Constitution. Plaintiffs’ Complaint should also be dismissed because the allegations

it asserts show KSE’s alleged conduct falls within an enumerated exception to the

PPPA. KSE incorporates its brief in support of this Motion.

      KSE’s counsel certifies that on August 15, 2022, they communicated in

writing to Plaintiffs’ counsel, explaining the nature of the relief sought in this Motion
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1135 Filed 08/19/22 Page 2 of 34




and seeking concurrence in that relief. During a phone call on August 17, 2022,

Plaintiffs’ counsel stated that they would oppose this Motion.


Dated: August 19, 2022                Respectfully submitted,

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                                         2
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1136 Filed 08/19/22 Page 3 of 34




          IN THE UNITED STATES DISTRICT COURT FOR
    THE EASTERN DISTRICT OF MICHIGAN NORTHERN DIVISION


RICHARD PRATT and LARRY JONES,             Case No. 21-cv-11404-TLL-PTM
individually and on behalf of all others   Honorable Thomas L. Ludington
similarly situated,                        Honorable Patricia T. Morris

                  Plaintiffs,

      v.

KSE SPORTSMAN MEDIA, INC.,
d/b/a OUTDOOR SPORTSMAN GROUP,
INC.,

                  Defendant.



       DEFENDANT’S BRIEF IN SUPPORT OF ITS MOTION FOR
               JUDGMENT ON THE PLEADINGS
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1137 Filed 08/19/22 Page 4 of 34




                                           TABLE OF CONTENTS

INTRODUCTION .....................................................................................................1
FACTUAL BACKGROUND ....................................................................................4
         A. The PPPA and its Federal Equivalent ......................................................4
         B.      2016 Amendment to the PPPA ................................................................5
         C.      The Data Sharing Business Today ...........................................................6
         D. Plaintiffs’ Allegations ..............................................................................9
LEGAL STANDARD ................................................................................................9
ARGUMENTS AND AUTHORITIES ...................................................................10
I.    KSE is Entitled to Judgment on the Pleadings Because the PPPA is a Special
      Law ....................................................................................................................10
         A. The PPPA Is a Special Law Because It Treats Retailers of Media
            Differently than Other Retailers ............................................................11
         B.      The PPPA Is A Special Law Because It Irrationally Discriminates
                 Against Retailers of Written and Audiovisual Materials.......................13
II. KSE is Entitled to Judgment on the Pleadings Because the Complaint Shows
    that KSE’s Alleged Disclosures Meet the Direct Marketing Exception to the
    PPPA ..................................................................................................................18
         A. Plaintiffs’ Complaint Demonstrate that KSE’s Disclosures Were for the
            Exclusive Purpose of Marketing Goods and Services Directly to the
            Consumer ...............................................................................................18
         B.      Documents Incorporated by Reference in the Complaint Show KSE
                 Provided Written Notice to Its Customers .............................................24




                                                               i
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1138 Filed 08/19/22 Page 5 of 34




                                   TABLE OF AUTHORITIES

Cases
Am. Axle & Mfg., Inc. v. City of Hamtramck,
 461 Mich. 352, 604 N.W.2d 330 (2000)...............................................................10
Ass’n of Home Help Care Agencies v. Dep't of Health & Hum. Servs.,
 334 Mich. App. 674, 965 N.W.2d 707 (2020)......................................................11
Berrylane Trading, Inc. v. Trans. Ins. Co.,
 754 F. App’x 370 (6th Cir. 2018) .........................................................................24
Boelter v. Hearst Commc’ns, Inc.,
 269 F. Supp. 3d 172S.D.N.Y. 2017). ......................................................................8
Cain v. City of Detroit,
 2021 WL 5261857 (E.D. Mich. Aug. 11, 2021) ...................................................10
Conaway v. Detroit Pub. Sch. Cmty. Dist.,
 2022 WL 1538392 (E.D. Mich. May 16, 2022) ...................................................10
Coulter-Owens v. Time, Inc.,
 695 F. App’x 117 (6th Cir. 2017) ........................................................ 7, 22, 23, 24
Coulter-Owens v. Time, Inc.,
 308 F.R.D. 524 (E.D. Mich. 2015) .....................................................................6, 7
Donovan v. FirstCredit, Inc.,
 983 F.3d 246 (6th Cir. 2020) ................................................................................22
Fremont Reorganizing Corp. v. Duke,
 811 F. Supp. 2d 1323 (E.D. Mich. 2011) .............................................................25
Greer v. Motion Water Sports, Inc.,
 2018 WL 1907449 (M.D. Tenn. Apr. 23, 2018)............................................ 20, 21
Harrisburg Sch. Dist. v. Hickok,
 761 A.2d 1132 (Pa. 2000) .....................................................................................17
Haynes v. Lapeer Cir. Judge,
 201 Mich. 138, 166 N.W. 938 (1918)............................................................ 10, 15
JPMorgan Chase Bank, N.A. v. Winget,
  510 F.3d 577 (6th Cir. 2007) ................................................................................10
Kenkel v. Stanley Works,
 256 Mich. App. 548, 665 N.W.2d 490 (2003)......................................................11


                                                       ii
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1139 Filed 08/19/22 Page 6 of 34




Louisville/Jefferson Cty. Metro Gov’t v. O’Shea’s-Baxter, LLC,
 438 S.W.3d 379 (Ky. 2014) ..................................................................................17
Michelle Hug, Henstock, Inc. v. City of Omaha,
 749 N.W.2d 884 (Neb. 2008) ...............................................................................17
Montgomery v. Potter,
 341 P.3d 660 (Okla. 2014) ....................................................................................17
People v. DeHart,
 2022 WL 2285268 (Mich. Ct. App. June 23, 2022). ............................................14
People v. Konopka,
 309 Mich. App. 345, 869 N.W.2d 651 (2015)......................................................11
Perlin v. Time Inc.,
 237 F. Supp. 3d 623 (E.D. Mich. 2017) ...............................................................15
Ruppel v. Consumers Union of United States, Inc.,
 2017 WL 3085365 (S.D.N.Y. June 12, 2017) ............................................... 23, 24
Swart v. Pitcher,
 9 F.3d 109 (6th Cir. 1993) ......................................................................................9
United States v. Health Possibilities, P.S.C.,
 207 F.3d 335 (6th Cir. 2000). ...............................................................................22

Constitutional Provisions
MI CONST Art. 4, § 29 ..........................................................................................10

Statutes
18 U.S.C. § 2710 ........................................................................................................4
MICH. COMP. LAW § 445.1711 ............................................................................. iv, v
MICH. COMP. LAW § 445.1712 ........................................................................ 2, 5, 22
MICH. COMP. LAW § 445.1713(d). ................................................................... passim
MICH. COMP. LAW § 445.1715 ...............................................................................2, 5

Other Authorities
Black’s Law Dictionary (11th ed. 2019) .......................................................... 20, 24

Rules
FED. R. CIV. P. 12(c)...............................................................................................1, 9
FED. R. CIV. P. 12(h)(2) ..............................................................................................9


                                                           iii
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1140 Filed 08/19/22 Page 7 of 34




                   STATEMENT OF ISSUES PRESENTED
      1.    Whether Plaintiffs have failed to state a claim upon which relief can be

granted because Michigan’s Preservation of Personal Privacy Act, MICH. COMP.

LAW § 445.1711 et seq. (the “PPPA”), is an unconstitutional special law; and,

      2.    Whether Plaintiffs have failed to state a claim upon which relief can be

granted because the Complaint shows KSE’s disclosures fall within the direct

marketing exception of the PPPA.




                                        iv
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1141 Filed 08/19/22 Page 8 of 34




           STATEMENT OF MOST CONTROLLING AUHORITY

   The controlling authority for this Motion includes:

      1.    MICH. COMP. LAW § 445.1711 et seq.

      2.    MICH. CONST. Art. 4, § 29




                                         v
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1142 Filed 08/19/22 Page 9 of 34




      Pursuant to FED. R. CIV. P. 12(c), KSE moves the Court for judgment on

Plaintiffs’ claims alleging violations of the PPPA.

                                INTRODUCTION
      When the PPPA was passed in 1988, Madonna was producing hit records and

a gallon of gas cost less than a dollar. The internet had not yet been used for

commercial purposes, and marketing was accomplished primarily through

advertising in traditional media such as on television and in magazines. In the 34

years since, technology and commerce have drastically changed. Most adults now

own smart phones with capacities that exceed a computer. Companies monitor

consumers’ cell phone and computer browsing activity to serve them ads relevant to

their interests, and the data sharing industry has capitalized on that tracking to

become a multi-billion-dollar business. To put it simply—technology has

dramatically shifted historical notions of privacy, and any law that attempts to

protect it is tasked with accommodating this ever-changing landscape.

      The PPPA was passed after a Supreme Court nominee’s video rental list was

publicly disclosed in a newspaper article.        Innocuous though that list was,

legislatures like Michigan’s acted swiftly to protect the privacy of individuals,

declaring that the PPPA “established as a matter of law that a person’s choice in

reading, music, and video entertainment is a private matter, and not a fit subject for

consideration by gossipy publications, employers, clubs, or anyone else for that


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Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1143 Filed 08/19/22 Page 10 of 34




 matter.” Compl., ECF No. 1, ¶ 21 (internal quotation marks omitted). The PPPA

 thus prohibits a retailer of “books or other written materials, sound recordings, or

 video recordings” from disclosing “information concerning the purchase [] of those

 materials.” MICH. COMP. LAW § 445.1712. The PPPA allows for statutory damages,

 id. § 445.1715, and provides an exception if a disclosure is for the “exclusive purpose

 of marketing goods and services directly to the consumer,” id. § 445.1713(d).

       In 2016, to evolve with advancing technology and notions of privacy,

 Michigan amended its statute. The PPPA now permits a disclosure if it is incident

 to the discloser’s ordinary course of business and requires proof of actual damage in

 order for an individual to sue. Thus, Michigan is keeping pace with what its

 consumers expect, and don’t expect, when it comes to their privacy.

       Plaintiffs, however, sued KSE, a publisher of magazines it sells at retail,

 alleging that KSE has violated the pre-amendment PPPA by disclosing consumer

 information to companies that participate in the data sharing business. Plaintiffs’

 lawsuit highlights the PPPA’s inequities that have emerged with the advent of the

 ability to track consumers’ retail habits. The PPPA only applies to “persons”

 engaged in the business of selling media, like books, magazines, and/or music, but

 not to other participants in the data sharing business, such as big-box retailers,

 monthly subscription services, and state governmental agencies that issue licenses.

 Plaintiffs allege in their Complaint that the PPPA imposes liability on the magazine


                                           2
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1144 Filed 08/19/22 Page 11 of 34




 publisher, but by its very language, the PPPA does not impose liability on retailers

 that do not publish books or magazines but that nonetheless disclose information

 concerning consumer purchasers to participants in the data sharing business. The

 aim of the PPPA is to protect individual privacy, but there is no rational basis for

 subjecting a company that discloses the purchase of a magazine to liability while

 exempting a company that discloses the purchase of other goods or services.

       What’s more, the totality of the allegations in the Complaint demonstrate that

 KSE’s conduct falls into the direct marketing exception of the PPPA, which permits

 a disclosure if it is for the exclusive purpose of marketing. Plaintiffs argue that KSE

 does not fall into the exception because KSE discloses subscriber information to earn

 revenue. But, Plaintiffs also allege the players in the data sharing business, to whom

 KSE allegedly unlawfully disclosed purchaser information, exist for one purpose: to

 aid the discloser or recipient to secure more business from existing customers or new

 business from potential customers, i.e., to market. In fact, marketing means that the

 marketer at-issue is selling, or in layman’s terms, earning revenue. Therefore,

 because Plaintiffs allege KSE is undertaking disclosures to gain revenue by selling,

 i.e., marketing, consumer goods to consumers, Plaintiffs cannot state a claim.

       For these reasons, and those detailed herein, Plaintiffs’ claims should be

 dismissed. The PPPA violates the Michigan Constitution because it treats retailers

 of media arbitrarily, potentially subjecting them to billions of dollars of liability


                                           3
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1145 Filed 08/19/22 Page 12 of 34




 based on their participation in an industry in which non-media retailers participate

 in and profit from with impunity. In the event the Court declines to find the PPPA

 an unconstitutional special law, Plaintiffs’ own allegations demonstrate that KSE’s

 conduct falls into the direct marketing exception to the PPPA.

                            FACTUAL BACKGROUND
       A.     The PPPA and its Federal Equivalent

       In 1988, the United States Congress enacted the Video Privacy Protection Act

 (“VPPA”), 18 U.S.C. § 2710 et seq., after a newspaper published a profile containing

 the titles of 146 films rented by Supreme Court nominee Judge Robert H. Bork. As

 detailed in Plaintiffs’ Complaint, Members of the United States Senate championed

 the new privacy legislation because “records of consumers’ purchase and rental of

 audiovisual and publication materials offer a window into our loves, likes, and

 dislikes[.]” Compl. ¶ 15 (internal quotation marks omitted).

       A few months later, Michigan enacted its own version, the PPPA, finding the

 passage “established as a matter of law that a person’s choice in reading, music, and

 video entertainment is a private matter, and not a fit subject for consideration by

 gossipy publications, employers, clubs, or anyone else for that matter.” Id. ¶ 21. The

 PPPA, as originally enacted, thus states:

       [A] person, or an employee or agent of the person, engaged in
       the business of selling at retail, renting, or lending books or other
       written materials, sound recordings, or video recordings shall not
       disclose to any person, other than the customer, a record or

                                             4
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1146 Filed 08/19/22 Page 13 of 34




       information concerning the purchase, lease, rental, or borrowing
       of those materials by a customer that indicates the identity of the
       customer.

 MICH. COMP. LAW § 445.1712. As is obvious from the statutory language and as

 relevant to KSE, a publisher of magazines, the PPPA prohibits disclosure of

 information by “a person” that retails “written materials” from identifying to a third-

 party an individual as a purchaser of those materials. The PPPA does not, however,

 prohibit the disclosure of information identifying purchases of non-media materials.

       The PPPA also provides exceptions that allow for the disclosure of the

 consumer’s identifying information. Relevant here, the direct marketing exception

 exempts a disclosure “[i]f the disclosure is for the exclusive purpose of marketing

 goods and services directly to the consumer,” so long as the discloser “inform[s] the

 customer by written notice that the customer may remove his or her name at any

 time by written notice” to the discloser. Id. § 445.1713(d).

       B.     2016 Amendment to the PPPA

       In 2016, the Michigan legislature drastically amended the PPPA.             The

 amendment changed the direct marketing exception, broadening the exemption for

 the disclosure of identifying information if the disclosure is “incident to the

 [discloser’s] ordinary course of business.” MICH. COMP. LAW § 445.1713(d). The

 amendment also no longer allows an individual to sue for statutory damages. Id. at

 § 445.1715. Because it would be difficult for Plaintiffs to maintain even a cause of


                                           5
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1147 Filed 08/19/22 Page 14 of 34




 action, much less a class action, with these amendments, they have elected to bring

 suit under the pre-amendment PPPA.1 See Compl. ¶ 1 n.2.

         C.    The Data Sharing Business Today

         During the Class Period,2 consumer data was valuable, and a variety of

 companies that did not retail “written materials” provided personal information

 about individuals, like the Named Plaintiffs, to data aggregators, data cooperatives,

 and third-party advertisers without penalty under the PPPA. See Compl. Ex. G, ECF

 No. 1-8, at 1 (explaining that a data aggregator’s customers have included Wells

 Fargo, HSBC, E*Trade, Toyota, Ford, and Macy’s, or “just about any major

 company looking for insight into its customers”). The purpose of these disclosures:

 “to sell you stuff.” See Compl. Ex. F, ECF No. 1-7, at 2.

         The Complaint alleges that KSE “disclosed mailing lists containing Plaintiffs’

 Private Reading Information to data aggregators [], who then supplemented the

 mailing lists with additional sensitive information from their own databases, before

 sending the mailing lists back to [KSE].” Compl. ¶ 62. Appended information

 includes “the subscriber’s age, income level, ethnicity, marital status and health

 status, among other information.” Coulter-Owens v. Time, Inc., 308 F.R.D. 524, 528



 1
     Any reference to the “PPPA” hereafter shall mean the pre-amendment PPPA.
 2
  The “Class Period” is defined as six-years prior to the date Plaintiffs brought suit
 up to and until the amendment to the PPPA, or from June 15, 2015 to July 30, 2016.
                                            6
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1148 Filed 08/19/22 Page 15 of 34




 (E.D. Mich. 2015); see also Compl. ¶ 27 (“If you are an American adult, the odds

 are that [data aggregators] know [] things like your age, race, weight, height, marital

 status, education level, politics, buying habits, household health worries, vacation

 dreams—and on and on.”). The demographic information that a publisher like KSE

 receives back from a data aggregator is collected from other companies that have

 contributed data showing “age, race, weight, height, marital status, education level,

 politics, buying habits, household health worries, vacation dreams.” Compl. ¶ 27.

 As explained by the Sixth Circuit in Coulter-Owens, a data aggregator “enhances []

 subscriber lists with personal or demographic information obtained elsewhere.” 695

 F. App’x 117, 118 (6th Cir. 2017).

       The Complaint alleges that the second type of disclosure at issue is KSE’s

 alleged provision of subscriber information to “data cooperatives, who in turn gave

 [KSE] access to their own mailing list databases.” Compl. ¶ 63. These data

 cooperatives collect information contributed by companies across every business

 line imaginable, such as big banks, retailers, and media. See Compl. Ex. G, ECF

 No. 1-8, at 4 (explaining that a data cooperative’s customers include “Citibank,

 JPMorgan Chase, Target, Walgreens and others”).            Publishers like KSE can

 contribute to cooperative databases to “take advantage of the information

 contributed to the database by other companies.” Coulter-Owens, 308 F.R.D. at 529.

 In other words, “[a] data cooperative allows a company to receive personal


                                           7
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1149 Filed 08/19/22 Page 16 of 34




 information of potential new customers in exchange for submitting information

 about their current or past customers.” Boelter v. Hearst Commc’ns, Inc., 269 F.

 Supp. 3d 172, 181 (S.D.N.Y. 2017).

       Lastly, the Complaint alleges that KSE “rented and/or exchanged its mailing

 lists” to “third parties, including other consumer-facing companies, direct-mail

 advertisers, and organizations soliciting monetary contributions, volunteer work,

 and votes.” Compl. ¶ 64. This is accomplished through a list broker, which matches

 “buyers and sellers of data.” Compl. Ex. K, ECF No 1-12, at 4. Paragraph 2 of the

 Complaint shows an example of this direct mail business, in which KSE is offering

 to sell its list of subscribers to direct-mail advertisers. See Compl. ¶ 2.

       Data aggregators, data cooperatives, and direct-mail advertisers use all of the

 information they collect to, as explained in an exhibit attached to Plaintiff’s

 Complaint, “sell you stuff.” Compl. Ex. F, ECF No. 1-7, at 2; see also Compl. Ex.

 G, ECF No. 1-8, at 5 (explaining that companies purchase data from data aggregators

 and/or data cooperatives “because they want to hold on to their best customers or

 find new ones – or both”); see also id. (“A bank that wants to sell its best customers

 additional services, for example, might buy details about those customers’ social

 media, Web and mobile habits [from data aggregators and/or data cooperatives] to

 identify more efficient ways to market to them.”).




                                            8
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1150 Filed 08/19/22 Page 17 of 34




       D.     Plaintiffs’ Allegations

       Plaintiffs allege that KSE disclosed detailed information about Plaintiffs’

 Guns & Ammo, RifleShooter, and Handguns magazine subscriptions to: (1) data

 aggregators: (2) data cooperatives; and (3) direct-mail advertisers. Compl. ¶¶ 1, 62-

 64. “As a result, Plaintiffs have received a barrage of unwanted junk mail.” Id. ¶ 1.

 As a hypothetical example, Plaintiffs allege that: “Anyone could buy a customer list

 provided by [KSE] that contains the names and addresses of all women Guns &

 Ammo subscribers who are over the age of 40, possess a hunting license, and make

 over $80,000 per year.” Id. ¶ 7.

       Insofar as the PPPA’s direct marketing exception, Plaintiffs allege that KSE’s

 disclosures were made to participants in the data sharing business “in order to

 increase [KSE]’s revenue,” and thus, “were not made for the exclusive purpose of

 marketing goods [] directly to Plaintiffs and the members of the Class.” Id. ¶ 72.

                                LEGAL STANDARD
       “After the pleadings are closed—but early enough not to delay trial—a party

 may move for judgment on the pleadings.” FED. R. CIV. P. 12(c).3 “A motion for

 judgment on the pleadings . . . is governed by the same standards applicable to a

 motion to dismiss pursuant to 12(b)(6).” Cain v. City of Detroit, 2021 WL 5261857,




 3
  KSE’s previous filing of a 12(b)(6) Motion does not preclude this one. See FED. R.
 CIV. P. 12(h)(2); see also Swart v. Pitcher, 9 F.3d 109 (6th Cir. 1993).
                                          9
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1151 Filed 08/19/22 Page 18 of 34




 at *1 (E.D. Mich. Aug. 11, 2021). “For purposes of a motion for judgment on the

 pleadings, all well-pleaded material allegations of the pleadings of the opposing

 party must be taken as true[.]” Conaway v. Detroit Pub. Sch. Cmty. Dist., 2022 WL

 1538392, at *1 (E.D. Mich. May 16, 2022) (citation omitted). A party is entitled to

 judgment on the pleadings “when no material issue of fact exists and the party

 making the motion is entitled to judgment as a matter of law.” JPMorgan Chase

 Bank, N.A. v. Winget, 510 F.3d 577, 582 (6th Cir. 2007) (citation omitted).

                       ARGUMENTS AND AUTHORITIES

 I.    KSE is Entitled to Judgment on the Pleadings Because the PPPA is a
       Special Law
       Under the Michigan Constitution, “[t]he legislature shall pass no local or

 special act in any case where a general act can be made applicable, and whether a

 general can be made applicable shall be a judicial question.” MI CONST Art. 4, §

 29. A general law, as opposed to a special one, “includes all persons, classes and

 property similarly situated and which come within its limitations.” Am. Axle & Mfg.,

 Inc. v. City of Hamtramck, 461 Mich. 352, 359, n.5, 604 N.W.2d 330, 334 (2000).

 Moreover, Michigan courts recognize the constitutional deficiencies of special laws:

       [I]f [legislation]fails to include and affect alike all persons of the
       same class, and extends immunities or privileges to one portion
       and denies them to others of like kind, by unreasonable or
       arbitrary subclassification, it comes within the constitutional
       prohibition against class legislation.

 Haynes v. Lapeer Cir. Judge, 201 Mich. 138, 141–42, 166 N.W. 938, 940 (1918)).

                                            10
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1152 Filed 08/19/22 Page 19 of 34




       Michigan courts generally conduct an equal protection analysis to determine

 the constitutionality of an alleged special law. See Kenkel v. Stanley Works, 256

 Mich. App. 548, 564, 665 N.W.2d 490, 500 (2003). “In a challenge brought under

 the Equal Protection Clause . . . a defendant must show that [1] he or she was treated

 differently than other persons who were similarly situated and [2] that there exists

 no rational basis for such disparate treatment.” People v. Konopka, 309 Mich. App.

 345, 367, 869 N.W.2d 651, 665 (2015). “The party asserting an equal-protection

 violation must show that the policy is arbitrary and wholly unrelated in a rational

 way to the objective of the policy.” Ass’n of Home Help Care Agencies v. Dep't of

 Health & Hum. Servs., 334 Mich. App. 674, 693, 965 N.W.2d 707, 718 (2020)

 (citation and quotation marks omitted).

       A.     The PPPA Is a Special Law Because It Treats Retailers of Media
              Differently than Other Retailers

       The first step of the equal protection analysis requires KSE to show that it is

 being treated differently than other similarly situated persons. Because the PPPA

 applies exclusively to businesses that retail written or audiovisual materials, but not

 to businesses that retail other consumer goods, KSE has met this burden.

       The PPPA and laws like it were passed in the late 1980s because a high-profile

 individual’s video rental history was publicly disclosed, and there was widespread

 public support for privacy protection of an individual’s media choices. Fast forward

 more than 30 years, and the PPPA only applies to magazine publishers and other

                                           11
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1153 Filed 08/19/22 Page 20 of 34




 media retailers’ participation in a data sharing business that the Michigan legislature

 could not have envisioned at the time of the statute’s passage. For example,

 consumers today can subscribe to a variety of products just like consumers can

 subscribe to a magazine, e.g., Stitch Fix, Nuuly, and Rent the Runway are clothing

 rental retailers that collect information about a consumer’s clothing size and style,

 brand and color preferences, and/or events attended; Home Chef, HelloFresh, and

 Blue Apron are meal delivery retailers that collect information about a consumer’s

 eating habits, food likes and dislikes, food allergies, and/or family demographics;

 Adore Me and Spicy Subscriptions are lingerie and/or adult intimacy retailers that

 collect information about a consumer’s sexual orientation and preferences. These

 businesses are noticeably not subject to liability under the PPPA. The law, on its

 face, discriminates in favor of a selected group—i.e., companies that sell any product

 other than books, written materials, sound recordings, or video recordings.

       Illustratively, Plaintiffs’ counsel currently have multiple lawsuits pending

 pursuant to the statute, all against retailers of media, but not against retailers of any

 other consumer goods. See Ex. 1, Batts v. Gannet Co., 22-CV-10685 (E.D. Mich.),

 Am. Compl., ECF No. 17, ¶ 1 (alleging disclosure of “Plaintiff’s USA Today

 newspaper subscription”); Ex. 2, Ulsh et al. v. Farm Journal Inc., d/b/a Farm

 Journal Media, 21-CV-11811 (E.D. Mich.), Am. Compl., ECF No. 32, ¶ 1 (alleging

 disclosure of “Plaintiffs’ Farm Journal magazine subscriptions”). Of those that have


                                            12
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1154 Filed 08/19/22 Page 21 of 34




 been brought by Counsel for Plaintiffs and have settled on a class-wide basis, all

 were against retailers of magazines. See, e.g., Ex. 3, Raden et al. v. Martha Stewart

 Living Omnimedia, Inc., 16-CV-12808 (E.D. Mich.), Final Judgment and Order of

 Dismissal with Prejudice, ECF No. 54 (certifying for settlement class of subscribers

 to Martha Stewart Living or Martha Stewart Weddings magazines).

       Magazine publishers, and other retailers of consumer media, are similarly

 situated as other retailers of non-media consumer goods and services because they

 all sell goods at retail and actively participate in and profit from the data sharing

 business in which their disclosures reveal a private matter “not a fit subject for

 consideration by gossipy publications, employers, clubs, or anyone else for that

 matter.” Compl. ¶ 21. As detailed above, data aggregators, data cooperatives, and

 direct-mail advertisers receive personal information about consumers from all sorts

 of companies—some are retailers of media, and others are not—and append it to

 data already in its possession (data aggregators) or use it to market to their customers

 or potential customers (data cooperatives and direct-mail advertisers). Thus, the

 PPPA fails to include and affect alike all persons of the same class, extending

 immunities and privileges to those non-media retailers who participate in data

 sharing, but denying those same privileges to media retailers like KSE.

       B.     The PPPA Is A Special Law Because It Irrationally Discriminates




                                           13
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1155 Filed 08/19/22 Page 22 of 34




              Against Retailers of Written and Audiovisual Materials

       The second step in the equal protection analysis requires KSE to demonstrate

 that the PPPA’s statutory classification “is without reasonable justification.” People

 v. DeHart, 2022 WL 2285268, at *3 (Mich. Ct. App. June 23, 2022). The Michigan

 legislature’s decision to exclude “person[s]” from the PPPA that do not retail written

 materials or audiovisual materials is irrational and inequitable.        Despite the

 legislature’s intentions to avoid a similar privacy violation as had been experienced

 by Judge Bork, the PPPA violates Michigan’s Constitution because there is no

 rational basis for only holding those who sell some consumer goods liable given the

 general privacy interest at stake.

       In Plaintiffs’ hypothetical example from the Complaint, they allege that

 “[a]nyone could buy a customer list provided by [KSE] that contains the names and

 addresses of all women Guns & Ammo subscribers who are over the age of 40,

 possess a hunting license, and make over $80,000 per year.” Compl. ¶ 7. But, the

 fact that these hypothetical subscribers are over age 40, possess a hunting license,

 and make over $80,000 a year cannot be gleaned from their subscription to the at-

 issue magazine, or from any purchase by them of a book, written material, song, or

 video recording.     Instead, such information has been collected about those

 individuals elsewhere, from other companies or agencies that collect demographics

 about an individual’s age, licensures, and income, and then provide it to data


                                          14
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1156 Filed 08/19/22 Page 23 of 34




 aggregators and data cooperatives. A law that arbitrarily punishes the company that

 discloses that the hypothetical individuals subscribed to Guns & Ammo, but doesn’t

 the companies that disclosed the individuals’ sex, age, licensures, and income level

 extends immunities to “one portion and denies them to others of like kind, by []

 arbitrary subclassification.” Haynes, 201 Mich. at 141, 166 N.W. at 940.

       The irrationality of the PPPA is especially clear in Plaintiffs’ hypothetical

 when considering the interest at stake—the preservation of privacy. “The [PPPA]’s

 plain language and legislative history demonstrate that it was created by [the

 Michigan] legislature to protect individual consumers from certain disclosures of

 their personal information.” Perlin v. Time Inc., 237 F. Supp. 3d 623, 640 (E.D.

 Mich. 2017) (internal quotation marks and citations omitted). Information gathered

 about individuals, such as their age, licensures, and income level, is the very

 definition of personal, and the fact that the company that discloses that information

 is not subject to a $5,000 statutory penalty, but the magazine publisher who disclosed

 far less personal information is, is unreasonable.

       As explained by the Senators who passed the federal VPPA, an individual’s

 purchase of videos or written materials “offer a window into our loves, likes, and

 dislikes.” Compl. ¶ 15. The same is true of an individual’s purchase of, for example,

 a hunting license. It offers a window into their love of and passion for hunting the

 same way that individuals’ purchase of, for example, Guns & Ammo magazine


                                          15
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1157 Filed 08/19/22 Page 24 of 34




 could. Senator Leahy said in regards to the federal legislation that purchases of

 audiovisual materials “are at the core of any definition of personhood. They reveal

 our likes and dislikes, our interests and our whims. They say a great deal about our

 dreams and ambitions, our fears and our hopes.” Compl. ¶ 20. It may seem, on first

 blush, that books, movies, and songs “say more” about an individual than an

 individual’s purchase of other products. For example, if an individual purchased a

 book about parenting, it could say a “great deal” about that individual’s “dreams and

 ambitions” to start a family. But, couldn’t the purchase of a stroller say the same

 thing about that individual’s hopes and dreams?         The examples are endless.

 Purchase of a book about trucks versus the actual truck; purchase of a book about

 financial planning versus enrollment in a 401(k); purchase of a cookbook versus the

 kitchen equipment to make the recipe. Books, and movies, and songs are special

 because they can be art. But the purchase of them—that’s just consumerism.

       The Michigan legislators reasoned, in passing the PPPA, that “that a person’s

 choice in reading, music, and video entertainment is a private matter, and not a fit

 subject for consideration by gossipy publications, employers, clubs, or anyone else

 for that matter.” Id. ¶ 21. The same is true of a person’s choice to subscribe to a

 monthly delivery of high-end cuts of meat, i.e., Butcher Box, which could provide

 fodder for a “gossipy publication” that such an individual is not a vegetarian and a

 capricious spender.   The same is true of a person’s choice to subscribe to a box


                                          16
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1158 Filed 08/19/22 Page 25 of 34




 delivered monthly to treat hair loss, i.e., Hims, which could provide information for

 a potential employer that the individual is balding.

       In short, personal data about all consumer purchases was provided to data

 appenders, data cooperatives, and direct-mail advertisers during the Class Period.

 The PPPA punishes the company that disclosed the purchase of the book about

 Claude Monet, but not the company that disclosed the purchase of a Water Lilies

 print. In the current data sharing landscape, what someone is reading, watching, or

 listening to does not reveal anything more intimate about their personhood that a

 purchase of other goods sold at retail does. Thus, the PPPA cannot withstand

 rational basis scrutiny.4


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   See cf. Montgomery v. Potter, 341 P.3d 660, 662 (Okla. 2014) (holding that a statute
 preventing uninsured motorists from recovering damages for pain and suffering was
 a special law because it restricted damages for uninsured drivers “while the general
 class of automobile accident victims is not prevented from the recovery of damages
 for pain and suffering”); Louisville/Jefferson Cty. Metro Gov’t v. O’Shea’s-Baxter,
 LLC, 438 S.W.3d 379, 386 (Ky. 2014) (legislation prohibiting retail drink license to
 an applicant located in a “combination business and residential area” if another
 “similar establishment” was located within 700 feet was a special law); Harrisburg
 Sch. Dist. v. Hickok, 761 A.2d 1132, 1135-36 (Pa. 2000) (holding that legislation
 applying to a school district “with a history of low test performance” was a special
 law, as the law applied only to Harrisburg, yet there was no rational basis for treating
 Harrisburg differently than other failing school districts); Michelle Hug, Henstock,
 Inc. v. City of Omaha, 749 N.W.2d 884, 890 (Neb. 2008) (holding that ordinance
 providing exemptions to a smoking ban—including bars, keno establishments,
 horseracing simulcasting locations, and tobacco retail outlets—was a special law
 because “[n]othing in the ordinance's stated purpose would explain why employees
 of the exempted facilities or members of the public who wish to patronize those
 establishments are not entitled to breathe smoke-free air or to have their health and
 welfare protected”).
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Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1159 Filed 08/19/22 Page 26 of 34




 II.   KSE is Entitled to Judgment on the Pleadings Because the Complaint
       Shows that KSE’s Alleged Disclosures Meet the Direct Marketing
       Exception to the PPPA
       In the alternative, KSE is entitled to judgment on the pleadings because the

 Complaint shows KSE’s disclosures meet the direct marketing exception to the

 PPPA. Section 445.1713(d) of the PPPA provides that any actionable disclosures

 are exempted so long as: (1) “the disclosure is for the exclusive purpose of marketing

 goods and services directly to the consumer; and (2) “[t]he person disclosing the

 information shall inform the customer by written notice that the customer may

 remove his or her name at any time by written notice to the person disclosing the

 information.” Because the allegations in the Complaint and documents incorporated

 by reference demonstrate that KSE’s alleged disclosures meet these two criteria,

 Plaintiffs’ claims should be dismissed on the pleadings.

       A.     Plaintiffs’ Complaint Demonstrate that KSE’s Disclosures Were for
              the Exclusive Purpose of Marketing Goods and Services Directly to
              the Consumer

       Plaintiff’s Complaint alleges KSE’s disclosures during the Class Period were

 made to three players in the data sharing business—data aggregators, data

 cooperatives, and direct-mail advertisers like “organizations soliciting monetary

 contributions, volunteer work, and votes”—in “order to increase [KSE’s] revenue.”

 Compl. ¶ 72. Thus, Plaintiffs contend, KSE’s “disclosures were not made for the

 exclusive purpose of marketing goods and services directly to Plaintiffs and the


                                          18
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1160 Filed 08/19/22 Page 27 of 34




 members of the Class.” Id. By these very allegations, however, Plaintiffs have

 shown that any alleged disclosures by KSE fit within the exception because the

 purpose of marketing is to earn revenue.

              1.    KSE’s Disclosures to Data Aggregators Were Allegedly For the
                    Purpose of Marketing to KSE’s Existing Customers

       Plaintiffs first allege that KSE disclosed identifying information of its

 subscribers to data aggregators, which as explained supra, are companies that collect

 data from a variety of media and non-media companies and then append it to the

 discloser’s data to make it more valuable to the discloser. Id. ¶ 72. However,

 Plaintiffs also allege that KSE is undertaking the disclosures to data aggregators so

 it can promote its magazines. See Compl. Ex. G, ECF No. 1-8, at 5 (explaining that

 companies purchase data from data aggregators “because they want to hold on to

 their best customers”); see also id. (“A bank that wants to sell its best customers

 additional services, for example, might buy [data from data aggregators] to identify

 more efficient ways to market to them.”).

       Plaintiffs contend that the reason KSE undertakes these disclosures is to earn

 revenue. But, any revenue allegedly earned by KSE by enhancing its own data will

 be via increased sales of its magazines to existing customers, i.e., via marketing.

 Black’s law dictionary defines “marketing” as: “1. The act or process of promoting

 and selling, leasing, or licensing products or services. . . . 3. The area of study

 concerned with the promotion and selling of products or services.” MARKETING,
                                            19
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1161 Filed 08/19/22 Page 28 of 34




 Black’s Law Dictionary (11th ed. 2019) (emphasis added). Synonyms for marketing

 include “retailing” and “selling.” Insert those words into the PPPA’s exception

 instead of “marketing,” and it reads: “If the disclosure is for the exclusive purpose

 of [retailing or selling] goods and services directly to the consumer.”

       Marketing is not a charitable enterprise. In fact, marketing is done expressly

 to make a profit or promote a service. The choice of the word “marketing” in PPPA

 is telling. If the Michigan legislature meant that a disclosure is not exempted if the

 person making it might obtain a profit from it, then they would have written

 that. Instead, the legislature provided for a common-sense exception in which

 KSE’s alleged disclosures squarely fit. The words “exclusive purpose” do not

 diminish the import of the word “marketing.” KSE allegedly undertaking the

 disclosures for the exclusive purpose of making a profit is the same as KSE

 undertaking the disclosures for the exclusive purpose of marketing because for-profit

 companies market for the exclusive purpose of making a profit.

       The case of Greer v. Motion Water Sports, Inc. is instructive. 2018 WL

 1907449 (M.D. Tenn. Apr. 23, 2018). There, the plaintiff sued the defendant, a non-

 manufacturer seller of a life vest, after the decedent died in a boating accident. The

 plaintiff argued the Tennessee’s Products Liability Act of 1978 (“TPLA”), which

 provides protections for non-manufacturing sellers, did not apply because the

 defendant was not engaged in marketing when it displayed the at-issue life vest next


                                          20
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1162 Filed 08/19/22 Page 29 of 34




 to a Coast Guard approved life vest at its retail location. Id. at **1-2. The court thus

 analyzed whether the TPLA’s definition of “marketing” encompassed the

 defendant’s conduct, because if it did, then the plaintiff’s claim would be

 precluded. The court found that because the display of the life vest constituted “the

 business of selling a product,” i.e., marketing, the defendant’s conduct “constitutes

 marketing,” thus precluding the plaintiff’s claim. Id. at **2-3.

       Obviously, the TPLA is a different statute than the PPPA. However, the Greer

 court’s interpretation of “marketing” as “the business of selling a product” precluded

 the plaintiff’s claim on the pleadings based on that definition. The “business of

 selling a product” necessarily includes the business of earning revenue. Therefore,

 “marketing” as is used in § 445.1713(d) includes any motivation by KSE, as alleged

 by Plaintiffs, to earn revenue. Any alleged disclosures by KSE to data aggregators

 thus fall within the direct marketing exception to the PPPA.

              2.     KSE’s Disclosures to Data Cooperatives Were for the Alleged
                     Purpose of Marketing to “the Consumer”

       Plaintiffs also allege KSE disclosed identifying information of its subscribers

 to “data cooperatives” to gain access to the data cooperative’s “mailing list

 databases.” See Compl. ¶¶ 63, 72. Plaintiffs allege KSE wants access to the data

 cooperative’s mailing lists so it can access potential new customers to which it hopes

 to sell its magazines. See Compl. Ex. F, ECF No.1-8 at 5 (“Clients generally buy

 this data because they want to . . . find new [customers].”). As explained supra, KSE
                                           21
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1163 Filed 08/19/22 Page 30 of 34




 hopes to market to potential new customers so it can earn a profit, and therefore,

 KSE’s alleged disclosure of its subscriber’s information to data cooperatives is not

 actionable under the PPPA. Coulter-Owens, 695 F. App’x at 118 (explaining

 magazine publisher at-issue was a member of the cooperative because “it is valuable

 to [the publisher’s] own marketing endeavors” (emphasis added)).

       Plaintiffs contend that disclosures to data cooperatives do not fit within the

 direct marketing exception because the disclosure must be done for the purpose of

 “marketing goods and services directly to Plaintiffs and the members of the Class.”

 Compl. ¶ 72. But, that’s not what the statute says. Section 445.1713(d) does not

 state that the disclosure must be for the exclusive purpose of “marketing goods and

 services directly” to the discloser’s existing customers, which would parrot the

 language of § 445.1712, which prohibits the disclosure of a “customer’s” identifying

 information, or the language in the rest of § 445.1713(d), which states that the written

 notice must be to the “customer.” Instead, the exception provides for marketing to

 “the consumer” in general, whether it be a current or potential customer of the

 discloser. Where, as here, “the language of the statute is clear, the court applies the

 statute as written,” Donovan v. FirstCredit, Inc., 983 F.3d 246, 253 (6th Cir. 2020),

 and “the judicial inquiry is at an end,” United States v. Health Possibilities, P.S.C.,

 207 F.3d 335, 339 (6th Cir. 2000).

       The legislative history of the amended PPPA evidences this statutory


                                           22
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1164 Filed 08/19/22 Page 31 of 34




 interpretation. The legislators described that the amendment was meant to “clarify”

 that the PPPA does not prohibit disclosures if done to market “goods and services to

 customers or potential customers.” See Ex. 4, Enrolled Senate Bill No. 490,

 Amendment to the PPPA (emphasis added). KSE’s alleged disclosures to data

 cooperatives were, according to Plaintiff, done to gain access to potential customers,

 which just happens to earn the company revenue.

              3.    KSE’s Disclosures to Direct-Mail Advertisers Were for the
                    Alleged Purpose of Marketing to “the Consumer”

       The last category of at-issue disclosures is KSE’s alleged rental of its

 subscriber list to “third parties, including other consumer-facing companies, direct-

 mail advertisers, and organizations soliciting monetary contributions, volunteer

 work, and votes.” Compl. ¶ 64. Such list rentals, even to political or charitable

 organizations, fall within the direct marketing exception of the PPPA.

       Any disclosures via the list rental business are done for the purpose of

 marketing to the discloser’s customers. See Coulter-Owens, 695 F. App’x at 118

 (explaining the discloser rents its “subscriber lists to other enterprises (e.g.,

 companies, political groups, charities)” for the enterprises’ marketing efforts).

 Plaintiffs may point to Ruppel v. Consumers Union of United States, Inc., in which

 the court held on a motion to dismiss that the defendant’s disclosures did not satisfy

 the direct marketing exception because the defendant sold its list to non-profits and

 organizations soliciting donations. 2017 WL 3085365, at *2 (S.D.N.Y. June 12,
                                          23
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1165 Filed 08/19/22 Page 32 of 34




 2017). But the alleged disclosure of information to charity or political organizations,

 see Compl. ¶ 72, is also a disclosure for the exclusive purpose of marketing because

 such entities are utilizing the information to “promote” a service. See

 MARKETING, Black’s Law Dictionary (11th ed. 2019) (defining “marketing” as

 “the act or process of promoting . . . services”).5

       B.     Documents Incorporated by Reference in the Complaint Show KSE
              Provided Written Notice to Its Customers

       The direct marketing exception also requires that “[t]he person disclosing the

 information [] inform the customer by written notice that the customer may remove

 his or her name at any time by written notice to the person disclosing the

 information.” MICH. COMP. LAW § 445.1713(d). Incorporated by reference in the

 Complaint are the written notices in Guns & Ammo, RifleShooter, and Handguns

 magazines, see Exs. 5-7,6 which contain the following disclosure:


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  Attorneys previously representing parties pursuing claims like those pursued here
 have admitted disclosures made in furtherance of the direct-mail business meet the
 direct marketing exception. Coulter-Owens, 695 F. App’x at 120.
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   KSE may rely on written notice included in these magazines because they were
 referenced in the Complaint and are central to Plaintiffs’ claims in this case. See
 Berrylane Trading, Inc. v. Trans. Ins. Co., 754 F. App’x 370, 378 n.2 (6th Cir. 2018).
 First, the Named Plaintiffs each allege that they were never provided “any written
 notice that [KSE] rents, exchanges, or otherwise discloses its customers’ Private
 Reading Information, or any means of opting out.” Compl. ¶¶ 9, 10. Thus, it cannot
 be argued that Plaintiffs do not reference the magazines’ written notices, as the
 “notice” they refer to was included in each magazine. See id. 378 n.2 (holding that
 even an indirect reference to a document is sufficient for a defendant to incorporate
 a document in a Rule 12 motion). Second, the written notices contained in the
                                           24
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1166 Filed 08/19/22 Page 33 of 34




       OCCASIONALLY, our subscriber list is made available to
       reputable firms offering goods and services that we believe
       would be of interest to our readers. If you prefer to be excluded,
       please send your current address label and a note requesting to
       be excluded from these promotions to: Outdoor Sportsman
       Group, 1040 6th Ave., 12th Floor, New York, NY 10018-3703,
       Attn: Privacy Coordinator

 KSE thus informed its subscribers that it was participating in data sharing, and that

 individuals could opt out of it by “written notice to the person disclosing the

 information.” MICH. COMP. LAW § 445.1713(d).

                                    CONCLUSION
       For the foregoing reasons, KSE requests that the Court grant its Motion for

 Judgment on the Pleadings.

 Dated: August 19, 2022                  Respectfully submitted,

                                         /s/ Jonathan E. Lauderbach
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 magazines are central to Plaintiffs’ claims. Indeed, the PPPA requires KSE to inform
 its subscribers that it was disclosing their information if it intends to utilize it for
 marketing, and Plaintiffs allege that KSE failed to do just that. The Court should not
 allow Plaintiffs’ failure to attach documents central to their claims to convert the
 Motion. See Fremont Reorganizing Corp. v. Duke, 811 F. Supp. 2d 1323, 1334
 (E.D. Mich. 2011) (“[W]here the plaintiff does not refer directly to given documents
 in the pleadings, if those documents govern the plaintiff's rights and are
 necessarily incorporated by reference then the motion need not be converted to one
 for summary judgment.”).
                                           25
Case 1:21-cv-11404-TLL-PTM ECF No. 44, PageID.1167 Filed 08/19/22 Page 34 of 34




                         CERTIFICATE OF SERVICE
        Jonathan E. Lauderbach states that on August 19, 2022, he did serve a copy
 of this Motion for Judgment on the Pleadings via United States District Court
 electronic transmission.



                                      /s/ Jonathan E. Lauderbach
                                      Jonathan E. Lauderbach




                                        26
